                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


TRACTOR SUPPLY COMPANY,                          )
                                                 )
               Plaintiff,                        )
                                                 )   Case No. 3:21-cv-0619
v.                                               )
                                                 )   Judge William Campbell
ACE AMERICAN INSURANCE CO.,                      )
UNIFIRST CORPORATION and                         )   Magistrate Judge Holmes
ESIS, INC.,                                      )
                                                 )
               Defendants.                       )


                            INITIAL CASE MANAGEMENT ORDER

       Pursuant to the Court’s Order Regarding Progression of Related Cases (Docket Entry

“D.E.” 50), and from review of the parties’ proposed initial case management order (D.E. 60)

and the entire record, the following case management schedule and plan is adopted:

        A.       INITIAL DISCLOSURES: The parties shall exchange initial disclosures

pursuant to Fed. R. Civ. P. 26(a)(1), which must include copies (not descriptions) of responsive

documents on or before November 15, 2021.

        B.       CASE RESOLUTION PLAN AND JOINT STATUS REPORTS:

         The parties are encouraged to make settlement efforts throughout the pendency of this

case and must make at least one substantive attempt at resolution. By no later than March 31,

2022, the parties agree to participate in a mediation and are therefore directed to do so by that

date. The mediator’s report shall be filed in accordance with Local Rule 16.05(b). The parties’

joint report must state the specific steps taken toward case resolution, including that an offer or

demand was made and responded to and that counsel discussed the parties’ positions and specific

next steps to promote case resolution. In other words, the parties must “show their work.”
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        The parties may mediate by agreement without the need of further order unless referral

for pro bono mediation is requested (which must be made by motion). Any motion for pro bono

mediation must include a statement as to why private mediation is not feasible. Any motion for a

judicial settlement conference must state: (i) the reasons why mediation is not feasible and why a

judicial settlement conference is the preferable means of attempting to resolve the case; (ii) the

parties’ proposed timing for scheduling of the settlement conference; and (iii) any preference for

a particular Magistrate Judge to conduct the settlement conference. The parties’ compliance with

this case resolution plan is not optional. The fact that discovery is ongoing or that a dispositive

motion is pending does not relieve the parties of their compulsory obligations under this

case resolution plan.

        C.       DISCOVERY: The parties must complete all written discovery and depose all

fact witnesses on or before July 29, 2022. Written discovery shall proceed promptly (unless

otherwise provided for herein). Discovery is not stayed during dispositive or other motions, unless

ordered by the Court.

        No discovery disputes may be brought to the Court for resolution before lead counsel for

all parties have conducted an in-person meeting and made a good faith effort to resolve any

dispute(s). Discovery disputes that cannot be resolved after the in-person meeting should be

brought promptly to the attention of the Magistrate Judge by the filing of a joint discovery dispute

statement and a request for a discovery conference. It will be within the Magistrate Judge’s

discretion to allow filing of discovery-related motions, after counsel have scheduled and

participated in a discovery conference. All discovery-related motions must be filed by no later

than July 1, 2022, unless otherwise ordered by the Court. In connection with any discovery

conference, the parties must file a joint discovery dispute statement, of no more than 3 pages per



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affected party per issue, which identifies and describes the specific discovery request(s) in dispute

and details each party’s position with supporting facts and legal authorities, including as to any

proportionality considerations. The joint discovery dispute statement must certify that lead counsel

for all parties conducted the required in-person meeting and made a good faith effort to resolve

each discovery dispute presented in the statement. No discovery conference will be held until a

compliant joint statement is filed. If the joint statement is sufficiently detailed, any party may

adopt by reference the joint statement for purposes of Local Rule 7.01 but must clearly state in

the filing made in accordance with the timing requirements of Local Rule 7.01 that the joint

statement is adopted as the party’s memorandum of law or response.

        D.       MOTIONS TO AMEND OR TO ADD PARTIES: Any motions to amend or

to add parties must be filed by no later than January 7, 2022 and must comply with Local Rules

7.01 and 15.01. Failure to comply with local rules may result in summary denial of the motion.

        E.       DISCLOSURE AND DEPOSITIONS OF EXPERTS: The plaintiff must

identify and disclose all expert witnesses and expert reports on or before August 29, 2022. The

defendant must identify and disclose all expert witnesses and reports on or September 29, 2022.

Rebuttal experts and reports shall be permitted only by leave of court. Unless otherwise provided

for in a separate pretrial order, supplemental expert disclosures, which specifically include, but

are not limited to, any supplemental information to expert reports, must be made in accordance

with Rule 26(a) and (e). Supplemental expert opinions or other expert disclosures not timely

disclosed may be excluded at trial. See Local Rule 39.01(c)(5)(C). Expert depositions must be

completed by November 17, 2022.

        F.       SUBSEQUENT CASE MANAGEMENT CONFERENCE. A subsequent

case management conference shall be held telephonically using the Court’s conference line on



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May 19, 2022 at 11:00 a.m. (CDT) 1 to address: status of discovery (including any known or

anticipated discovery issues or disputes); prospect for settlement (including propriety of ADR); and,

any other appropriate matters. Counsel shall discuss these matters in advance, and, if at the time for

which the subsequent case management conference is scheduled, the parties are in agreement that

there are no matters requiring the Court’s attention (including any requested modifications to the

case management schedule), they may notify the Court at least 3 business days in advance of the

scheduled subsequent case management conference and request removal of the case management

conference from the Court’s docket.

           G.      DISPOSITIVE MOTIONS: Any motions to dismiss under Fed. R. Civ. P. 12

 shall be filed and briefed in accordance with that rule and Local Rule 7.01. All other dispositive

 motions must be filed by no later than February 1, 2023. Responses to dispositive motions must

 be filed within 28 days after the filing of the motion. Briefs or memoranda of law in support of

 or in opposition to a dispositive motion shall not exceed 25 pages. Optional replies may be filed

 within 14 days after the filing of the response and shall not exceed 5 pages. No motion for

 partial summary judgment shall be filed except by permission of the Court. Any party wishing to

 file such a motion shall first file a separate motion that gives the justification for filing a partial

 summary judgment motion in terms of overall economy of time and expense for the parties,

 counsel, and the Court.

           H.      ESTIMATED TRIAL TIME AND TARGET TRIAL DATE: The jury trial

 of this action is expected to last approximately 10 to 15 days. 2 A trial date no earlier than


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         The parties’ attention is directed to the time of the call, which is different than the proposed
time, but which is necessary to accommodate the Court’s schedule.

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        The parties are reminded of their option to consent to final disposition by a Magistrate Judge
pursuant to Fed. R. Civ. P. 73 and Local Rule 73.01. If the parties wish to utilize this option, they
may jointly complete and electronically file the form Notice, Consent and Reference of a Civil
Action to a Magistrate Judge found on the Court’s website under the link for Forms. Not consenting
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August 15, 2023 is respectfully requested. An order setting dates for trial and a pretrial

conference, and detailing the parties’ pretrial obligations, will be entered separately by Judge

Campbell.

        It is so ORDERED.




                                            BARBARA D. HOLMES
                                            United States Magistrate Judge




will not result in any adverse consequences, and the Notice should be filed only if all parties
consent to final disposition by a Magistrate Judge.

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